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                        ***THIS IS A CAPITAL CASE***
                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS

KARL ROBERTS,

                    Petitioner,                          NO. 5:04CV0004-RGK

       vs.
                                                                ORDER
LARRY NORRIS, Director,
Arkansas Department of Correction,

                    Respondent.


      After careful consideration, and for the reasons previously enumerated,

       IT IS ORDERED that Petitioner Roberts’ requests (Filings 257 and 258) to proceed
pro se and to withdraw his habeas action are denied. The Clerk shall provide copies of
Filings 257 and 258 and this order to counsel of record and Mr. Roberts.

      Dated this 28th day of September, 2020.

                                                BY THE COURT:


                                                Richard G. Kopf
                                                Senior United States District Judge
